Case 1:25-cv-00315-LJV   Document 1-1   Filed 04/10/25   Page 1 of 20
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                        INDEX NO. 818720/2024
NYSCEF DOC. NO. Case
                1    1:25-cv-00315-LJV                 Document 1-1              Filed 04/10/25            Page 2 of NYSCEF:
                                                                                                           RECEIVED  20      12/20/2024




          STATE OF NEW YORK
          SUPREME COURT: COUNTY OF ERIE
          _________________________________________

          TL-1 DOE,
          c/o Tiveron Law, PLLC                                                      SUMMONS
          2410 North Forest Rd., Ste. 301
          Amherst, New York 14068,

                                 Plaintiff,                                          Index No.:


          v.

          CITY OF BUFFALO,
          65 Niagara Square
          Buffalo, New York 14202

          DETECTIVE SERGEANT ANTHONY FANARA,
          Individually and in his Official Capacity as a Detective
          Sergeant of the Buffalo Police Department,
          68 Court Street
          Buffalo, New York 14202,

          RONALD J. AMMERMAN, Individually and in his
          Official Capacity as a Buffalo Police Officer,
          68 Court Street
          Buffalo, New York 14202.

          JAKE J. GIARRANO, Individually and in his
          Official Capacity as a Buffalo Police Officer,
          68 Court Street
          Buffalo, New York 14202


          COUNTY OF ERIE
          95 Franklin Street
          Buffalo, New York 14202,

          ERIE COUNTY DISTRICT ATTORNEY’S OFFICE
          25 Delaware Avenue
          Buffalo, New York 14202,

                            Defendants.
          _________________________________________



          {H4024028.1}                                                                                                  1
                                                    Tiveron Law, PLLC
                               2410 NORTH FOREST ROAD | SUITE 301 | AMHERST, NEW YORK 14068
                           Phone: 716.636.7600 | Toll Free: 800.636.5255 | Fax: 716.636.7606 | www.tiveronlaw.com
                                                               1 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                INDEX NO. 818720/2024
NYSCEF DOC. NO. Case
                 1   1:25-cv-00315-LJV                          Document 1-1               Filed 04/10/25            Page 3 ofNYSCEF:
                                                                                                                     RECEIVED  20     12/20/2024




                      YOUAREHEREBYSUMMONED
                                         to Answer the Complaint in this action                                               and to

         serve a copy of your Answer on the Plaintiff's                    attorneys,     Tiveron Law, PLLC, within           20 days

         after    the serve of this summons, exclusive                of the date of service       (or within     30 days after the

         service      is   complete if this summons is not personally               delivered     to you within      the State of New


         York);       and in case of your failure         to appear,    Judgment will        be taken against       you by Default     for


         the relief        demandedin the Complaint.

                      Plaintiff   files   pseudonymously pursuant            to PB-7 Doe v.       Amherst Central School District,

         196 A.D.3d 9 (4th Dept. 2021); Anonymous v. Anonymous, 158 A.D.2d 296 (15t Depot.                                      1990).


         Dated:     December 16, 2024
                    Amherst, NewYork                                               TIVERONL W, PLLC



                                                                                   5teven M. Cohen, Esq.
                                                                                   Attorneys for TL-1 Doe
                                                                                   2410 North Forest Road, Ste. 301
                                                                                   Amherst, NewYork 14068
                                                                                   Telephone: 716-636-7600
                                                                                   Email: scohen@tiveronlaw.com




         H4024028.11                                                                                                             2
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                                                                         2 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                   INDEX NO. 818720/2024
NYSCEF DOC. NO. Case
                 1   1:25-cv-00315-LJV                             Document 1-1               Filed 04/10/25             Page 4 ofNYSCEF:
                                                                                                                         RECEIVED  20     12/20/2024




         STATEOFNEWYORK
         SUPREMECOURT: COUNTY
                            OFERIE


         TL-1 DOE,
         c/o Tiveron Law, PLLC                                                                   COMPLAINT
         2410 North Forest Rd., Ste. 301
         Amherst,        NewYork 14068,

                                            Plaintiff,                                           Index No.:



         v.


         CITY OFBUFFALO,
         65 Niagara Square
         Buffalo,       NewYork 14202

         DETECTIVESERGEANTANTHONY
                                FANARA,
         Individually and in his Official Capacity                    as a Detective
         Sergeant of the Buffalo Police D,
         68 Court Street
         Buffalo,       NewYork 14202,

         RONALDJ. AMMERMAN,
                          Individually                                  and in his
         Official       Capacity     as a Buffalo        Police Officer,
         68 Court Street
         Buffalo,       NewYork 14202,

         JAKE J. GIARRANO,Individually                         and in his
         Official       Capacity     as a Buffalo        Police Officer,
         68 Court Street
         Buffalo,       NewYork 14202

         COUNTYOF ERIE
         95 Franklin        Street
         Buffalo,       NewYork 14202,

         ERIE COUNTY
                   DISTRICT ATTORNEY'SOFFICE
         25 Delaware Avenue
         Buffalo,       NewYork 14202,

                                            Defendants.




         (H4024028.11                                                                                                             3
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                                                                            3 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                                 INDEX NO. 818720/2024
NYSCEF DOC. NO. Case
                1    1:25-cv-00315-LJV                                 Document 1-1                   Filed 04/10/25               Page 5 of NYSCEF:
                                                                                                                                   RECEIVED  20      12/20/2024




                    Plaintiff,          TL-1 DOE, by and through her attorneys,                        TIVERONLAW, PLLC as and for

         her Complaint alleged as follows:




                                                                                PARTIES

                        1.           Plaintiff,     TL-1 DOE("Plaintiff"),              was at all times relevant             herein a natural        person


         residing        at    920 Sycamore Street, Buffalo,                  NewYork 14211.

                    2.               Defendant,        CITY OFBUFFALO(hereinafter                        referred        to as "COB"),      was at all

         times relevant              herein a municipal          corporation         duly organized           and existing     under and pursuant            to


         the   laws of the State of NewYork with offices                               to   conduct business located              in the City    of

         Buffalo,            State   of NewYork and County of Erie. The Buffalo                               Police Department (hereinafter


         referred        to as "BPD") is a department                  owned, managedand under the control                          of the COB.

                    3.                                         ANTHONY
                                     Defendant DETECTIVESERGEANT     FANARA(hereinafter                                                           referred


         to as "FANARA") at all times relevant                             herein,    was and is an employee of the COBand the BPD

         and was in the course and scope of his duties                               as a police    officer      on the date and at the time of the

         within     incidents.


                    4.               Defendant RONALDJ. AMMERMAN
                                                              (herein                                         referred    to as   "AMMERMAN")at
         all   times relevant            herein     was and is an employee of the COBand the BPDand was in the course

         and scope of his duties                   as a police   officer      on the date and at the time of the within                  incidents.


                    5.               Defendant JAKE J. GIRRANO(herein                              referred       to as   "GIARRANO") at all
         times relevant              herein       was and is an employee of the COBand the BPDand was in the course and

         scope of his duties               as a police     officer    on the date and at the time of the within                     incidents.


                    6.               Defendant COUNTYOFERIE (hereinafter                               referred      to as "ERIE")       was at all times

         relevant        herein a municipal             corporation        duly organized          and existing          under and pursuant       to the




         (H4024028.1}                                                                                                                                 4
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                                                                                     4 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                                   INDEX NO. 818720/2024
NYSCEF DOC. NO. Case
                 1   1:25-cv-00315-LJV                                   Document 1-1                Filed 04/10/25                  Page 6 ofNYSCEF:
                                                                                                                                     RECEIVED  20     12/20/2024




         laws of the State of NewYork with                           offices    to    conduct business located                 in the City   of Buffalo,

         State      of NewYork and County of Erie.

                     7.           Defendant ERIE COUNTYDISTRICT ATTORNEY'sOFFICE(hereinañer

         referred       to as "ECDA')             at all times relevant          herein,    was a division,          entity,     department,     subsidiary

         and/or agent of the Defendant ERIE, and is governed by ERIE and the laws of the State of New


         York.

                                                               CONDITIONPRECEDENT

                     8.           Prior      to commencement of this                  action and on or about July 14, 2023, a Notice                       of

         Claim setting           forth     Plaintiff    s claims,       and the times and places where the injuries                        alleged herein


         were incurred           and sustained,          was served on COB, ERIE, the City of Buffalo                             Police   Department and


         the Erie County Sherriff's                    Department within              90 days añer the accrual            of respective        causes of


         action,     pursuant to General Municipal                      Law § 50-e (Exhibit             A).


                     9.           Prior      to the commencementof this                    action   and on or about February 8, 2024, an

         Amended Notice of Claim setting                        forth     Plaintiff     s claims    and the times and places where the

         injuries       alleged herein were incurred                 and sustained,          was served upon COB, ERIE, ECDAwithin

         90 days of the dismissal                  of all criminal       charges filed        against   Plaintiff,       pursuant to General


         Municipal            Law § 50-e (Exhibit            B).


                        10.       This action          commenced within one year and ninety days after the causes of action

         have accrued and more than thirty                         days añer serving          the Notice      of Claim.

                                                                               FACTUALBASIS
                        11.       On or about February 5, 2023 and continuing                            through        April     17, 2023,    añer an

         altercation          at the home of Plaintiff             involving      her minor sons and the Complainant in the criminal


         matter,     Defendants FANARA,and the COBthrough the BPDthreatened                                                    to charge Plaintiff       with a




         (H4024028.1}                                                                                                                                5
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                                                                                  5 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                                     INDEX NO. 818720/2024
NYSCEF DOC. NO. Case
                1    1:25-cv-00315-LJV                                   Document 1-1                    Filed 04/10/25                Page 7 of NYSCEF:
                                                                                                                                       RECEIVED  20      12/20/2024




         crime they knew or should have known that                             Plaintiff       did not commit, unless Plaintiff                   gave them

         specific        information         that they       were demanding.

                       12.         Several eye witnesses,                and the complainant himself                     all    provided   statements       to


         FANARAstating                that Plaintiff          was NOTthe perpetrator.

                       13.         On or about April             17, 2023,    FANARAadvised Plaintiff's                           counsel that he could


         accompany Plaintiff                 to turn herself        in the next day. Plaintiff's                  counsel       made arrangements to do

         so.                                      GIRRANOand other
                 Defendant FANARAthen sent AMMERMAN,                                                                              BPDofficers     to the


         Plaintiff's          home to arrest her that same evening, which also happened to be the holiest                                           night of

                                                                                                   15 Degree).
         Ramadan, for            a violation           of Penal Law 120.25 (Reckless Endangerment,

                       14.         On or about the evening of April                    17, 2023,                        GIRRANO
                                                                                                          FANARA,AMMERMAN,

         and BPDofficers               forced Plaintiff,           a devout Muslim, to remove all of her clothing                              and submit to a


         strip    search in the presence of male officers.                     They also forced                   Plaintiff      to remove her hijab,


         niquab,         chador, burqa and undergarments,                    refusing        to return           them until      her release    the next day.


                       15.         For a traditional           Muslin woman, being rendered naked before                               mento whomshe is

         not married,           referred      to as uncovering the "Awrah",                   is    emotionally           very traumatic.

                       16.         On April            18, 2023, Plaintiff    was arraigned              in Buffalo            City Court on the Reckless

         Endangerment charges. At that time Plaintiff's                            counsel provided                   video to the Court and ECDA


         showing them that                 Plaintiff      was NOTthe perpetrator.                  Plaintiff's       counsel met with Michael               W.

         Held, Esq., Assistant                District       Attorney,    to view the videos              at the office          of the ECDAimmediately

         after    that    appearance.          Mr. Held later advised           that    it   was the decision of the EDCAto move

         forward with the Reckless Endangerment charges.

                        17.        On or about May 22, 2023, Plaintiff's                       counsel again met with                  members of the

         ECDAto discuss the video evidence                            and the matters before the Buffalo                          City Court.




         {H4024028.1}                                                                                                                                   6
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                                                                                6 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                           INDEX NO. 818720/2024
NYSCEF DOC. NO. Case
                 1   1:25-cv-00315-LJV                              Document 1-1                 Filed 04/10/25                Page 8 ofNYSCEF:
                                                                                                                               RECEIVED  20     12/20/2024




                       18.         On or about July 11, 2023, Plaintiff               appeared with counsel before Hon. Peter J.

         Savage,        III,   for a felony     hearing in which the People were not ready.                     At that time the ECDA

         offered       a plea to Penal         Law 120.14, Menacing in the 2nd Degree. Plaintiff                         declined    to accept the


         plea.


                       19.         On July 25, 2023 the Complainant's                  attorney     provided     Plaintiff's      attorney      with a


         sworn Affidavit             stating   that   he has already advised the BPD, FANARAand ECDA. that                                   Plaintiff


         did NOTshoot the gun and that he gave his statement                              in writing     to the BPDand           FANARAthat

         Plaintiff       NEVERshot the gun.

                     20.           On or about September 14, 2023, Plaintiff                     and her counsel appeared in Buffalo


         City Court and served a Motion to Dismiss the Reckless Endangerment Charge. At that time the

                                                                                                                                                         2nd
         ECDAfiled             a Misdemeanor Complaint for a violation                    of Penal Law 120.14 (Menacing                      in the


         Degree) and the Reckless Endangerment charge was dismissed.

                     21.           The Complainant had previously                 been identified       as a suspect in         an earlier


         firebombing of Plaintiff's                car.


                     22.           On or about December 13, 2023, Plaintiff                      appeared for    trial    in Buffalo     City Court;


         however, the Claimant                 in that action     did not.    The case was placed on the reserve calendar                        for     two

         weeks pending a motion to restore                      to calendar     from the ECDA.

                     23.           On or about December 28, 2023, the Menacing charges were dismissed                                        against


         Plaintiff       and the ECDAdid not file                a motion to restore        it   to the calendar.


                                                                COBFOR
                 AS ANDFORA FIRST CAUSEOFACTION AGAINST DEFENDANT
                              MUNICIPAL LIABILITY PURSUANTTO
                                    42 U.S.C. SECTION1983

                     24.           Plaintiff   repeats,    and re-alleges       those allegations        contained       in paragraphs         1-23 as


         if fully      set forth     herein.




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                                                                              7 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                                  INDEX NO. 818720/2024
NYSCEF DOC. NO. Case
                 1   1:25-cv-00315-LJV                                Document 1-1                Filed 04/10/25                Page 9 ofNYSCEF:
                                                                                                                                RECEIVED  20     12/20/2024




                     25.         At all times mentioned herein,                Defendants FANARA,GIRRANOand

         AMMERMAN
               were acting in the course of their employment as with the COBand the BPD.

                     26.                                  GIRRANOand the Buffalo
                                 Defendants FANARA,AMMERMAN,                                                                            Police


         Department were acting under the color of law and caused a deprivation                                         of Plaintiff's

         Constitutional          rights      by seizing,    falsely   arresting,      and treating       her as previously             described.


                     27.         Upon information            and belief,      and at all times hereinaRer mentioned, it was the


         policy      and custom of the Defendant COBand the BPDto fail                                  to adequately          train    and supervise

         its   employees.


                     28.         By overlooking,            excusing,     or disregarding        the wrongful conduct of its police


         officers,      including         but not limited     to Defendants                       GIRRANOthe COB
                                                                                    FANARA,AMMERMAN,

         and Buffalo        Police Department have adopted a rule or unwritten                              policy     of deliberate          indifference


         to unlawful        conduct as complained of herein.

                    AS ANDFORA SECOND CAUSEOFACTION AGAINST DEFENDANT  COB
                         FORINTENTIONAL INFLICTION OFEMOTIONALDISTRESS
                     29.         Plaintiff      repeats,    and re-alleges     those allegations           contained      in paragraphs                1-28 as


         if fully    set forth      herein.


                     30.         On February          5,   2023, hours after her vehicle               was fire bombed, Plaintiff                  was

         lawfully       present in front         of her home located          at 920 Sycamore Street,                Buffalo      NewYork, with

         members of the community present,                        when a man approached her and her family                             violently


         striking       her minor son in the face.            An altercation          occurred     and the man who assaulted                       Plaintiff's


         son was chased, and gun shots were reported.

                     31.         The BPDresponded to the incident                      and took statements from several                       witnesses,         as

                                                                 Plaintiff'
         well as from the man who assaulted                                    son.    Every witness         to the incident           said   it    was a

         male who shot at and chased the manwho assaulted                                Plaintiff's      son.



         (H4024028.1|                                                                                                                                  8

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                                                                              8 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                               INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                                  Document 1-1                 Filed 04/10/25            Page 10 ofNYSCEF:
                                                                                                                              RECEIVED   20     12/20/2024




                     32.        On or about April               17, 2023,       Defendant FANARAadvised                 Plaintiff     that if she did


         not tell    him who the shooter was that he would arrest her for attempted murder or reckless

         endangerment knowing                     full   well that    it    was not Plaintiff      who shot at the manthat            assaulted       her


         son.


                     33.        On or about April               17, 2023,       Defendant FANARAdid advise                  Plaintiff's     counsel


         that     he would allow him to accompany Plaintiff                           to turn    herself in the next day. At approximately


         6:30 p.m. that                                                               GIRRANO
                                same evening, Defendant FANARA, sent Defendant AMMERMAN,

         and other BPDofficers                 to Plaintiff's    home to arrest         her/ for a crime he knew she did not                commit on

         the holiest        night of Ramadan.


                     34.        The seizure,             detention    and restraint      of Plaintiff     was without      cause.


                     35.        Once in custody of the BPD, Plaintiff,                          a deeply religious      Muslim woman, was

         forced to strip for a body search in the presence of male officers.                                 She was also forced           to remove


         her hijab,        niquab,     chador, burqa and her under clothes                      which were kept from her until              her release


         the next day.


                     36.        That by their conduct and under the circumstances                             known to them, Defendants

         FANARA,AMMERMAN
                      and GIRRANO,intended                                                 to cause severe emotional            distress    and such

         conduct made it             certain      that   such distress        would follow.

                     37.        That the aforementioned conduct of Defendants FANARA,AMMERMAN,

         GIRRANO,COBand the BPDdirectly                                    and proximately       caused the Plaintiff      severe emotional


         injury     and distress.




         {H4024028.1}                                                                                                                             9
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                                                                                   9 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                                        INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                                Document 1-1                        Filed 04/10/25                  Page 11 ofNYSCEF:
                                                                                                                                         RECEIVED   20     12/20/2024




                AS ANDFORA THIRD CAUSEOFACTION AGAINSTDEFENDANT
                                                              COBFOR
                                      NEGLIGENTINFLICTION OFEMOTIONALDISTRESS

                       38.          Plaintiff   repeats,    and re-alleges        those allegations                 contained        in paragraphs       1-37 as


         if fully      set forth      herein.


                       39.          On February 5, 2023, Plaintiff              was lawfully                present in front          of her home located

         at 920 Sycamore Street,                 Buffalo    NewYork when a manapproached her and her a family

         violently       striking       her minor son in the face.            An altercation              occurred      and the manwho assaulted

         Plaintiff's         son was chased, and gun shots were reported.                               This altercation           occurred      hours after her


         vehicle       was firebombed in her driveway.

                       40.          The Buffalo       Police Department responded to the incident                                  and took statements

         from several          witnesses        and the manwho assaulted                    Plaintiff        son.    Every witness             to the incident


         said   it   was a male who shot at and chased the man who assaulted                                         Plaintiff's        son, including        the


         Complainant.

                       41.          On or about April         17, 2023,    Defendant FANARAadvised                                 Plaintiff     that if she did


         not tell      him who the shooter was that he would arrest                             Plaintiff      for attempted            murder and/or

         reckless       endangerment knowing                 full   well that    it    was not Plaintiff             who shot at the manwho

         assaulted her son.


                       42.          On or about April         17, 2023,    Defendant FANARAdid advise Plaintiff's                                     counsel


         that   he would allow him to accompany Plaintiff                              to   tum herself         in the next         day and Plaintiff's

         counsel       made arrangements to do so. At approximately                                6:30 p.m. that same evening,                      Defendant


         FANARA, sent Defendants AMMERMAN
                                       and GIRRANO
                                                 to Plaintiff's                                                                home to arrest her for a

         crime he knew she did not commit on the holiest                                night of Ramadan.




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                                                                                10 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                             INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                                  Document 1-1             Filed 04/10/25                  Page 12 ofNYSCEF:
                                                                                                                                RECEIVED   20     12/20/2024




                     43.         Once in custody of the Buffalo                   Police Department, Plaintiff,             a deeply religious


         Muslim woman, was forced                    to strip     for a body search in the presence                 of male officers.       She was

         also forced       to remove her hijab,            niquab,          chador, burqa and her under clothes                 which were kept.

         from her until          her release     the next day.


                     44.         That the aforesaid         mentioned conduct of the Buffalo                       Police Department and


         Defendants FANARA,AMMERMAN
                                 and GIRRANO,who were acting under the color of law,                                                                    in


         their    capacity    as   BPDofficers,           caused the Plaintiff         to reasonably            fear for her personal      safety.


                     45.         That the Plaintiff        did not consent to the actions                 of Defendants FANARA,

                GIRRANOand the BPD.
         AMMERMAN,
                     46.         That the conduct of the BPDand Defendants FANARA,AMMERMAN,

         GIRRANOand the BPDwas not just,                           authorized       or privileged.


                     47.                                                      GIRRANOand the
                                 That the conduct of Defendants FANARA,AMMERMAN,

         BPDwas so shocking,                 outrageous         that   it   exceeded all reasonable bounds of decency.

                     48.         That the aforementioned conduct of the COB/BPDand Defendants FANARA,

         AMMERMAN
               and GIRRANO
                         directly                                      and proximately        caused the Plaintiff          severe emotional


         injury     and distress.

            AS ANDFORA FOURTH                              COBFOR
                              CAUSEOFACTION AGAINSTDEFENDANT
                         MALICIOUS ABUSEOFLEGALPROCESS


                     49.         Plaintiff     repeats,    and re-alleges         those allegations         contained     in paragraphs        1-48 as


         if fully    set forth     herein.


                     50.         Defendant FANARA,while acting under the color of law and in his capacity                                    as a


         Buffalo     Police Detective        Sergeant,     intentionally         and maliciously         used the threat of filing         charges


         against     the Plaintiff       as a means to force her into               providing        specific     information     that   he required.




         (H4024028.1}                                                                                                                         11

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                                                                                11 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                                   INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                                    Document 1-1                    Filed 04/10/25            Page 13 ofNYSCEF:
                                                                                                                                   RECEIVED   20     12/20/2024




         WhenPlaintiff               did not provide           said information,             he then filed   charges against        her for a crime he


         was well aware that she did not commit causing her to be falsely                                        arrested     and subjected           to


         emotional           damage.

                       51.           Defendants FANARA,AMMERMAN
                                                             and GIRRANO,while acting under the

         color of law, and in their                   capacity    as a   COBpolice officers,               used the process of arrest               in a


         perverted           manner to obtain a collateral               objective           when FANARAfiled charges against                       Plaintiff


         for a crime that             he was aware she did not commit.

                       52.           All criminal        charges against           the Plaintiff     were finally      dismissed        by the Buffalo

         City Court on December 28, 2023.

                                                                  COB
                    AS ANDFORA FIFTH CAUSEOFACTION AGAINSTDEFENDANT
                           FORFALSEARREST/UNLAWFUL  IMPRISONMENT

                       53.           Plaintiff      repeats,    and re-alleges         those allegations        contained        in paragraphs         1-52 as


         if fully      set forth       herein.


                       54.           Defendant COBand the BPDintended                              to confine    the Plaintiff      by advising her

         counsel that they would allow                         counsel to accompany Plaintiff                the next day.        Defendant FANARA

         then sent                        GIRRANOand other BPDofficers
                         Defendant AMMERMAN,                                                                                to arrest   Plaintiff


         knowing she would have to spend the night                                 in jail    for a crime    FANARAwas aware Plaintiff                          did


         not commit.


                       55.           Plaintiff      was well aware that she was being taken from her children and placed

         into   custody         in   which she did not consent                for a crime that           evidence    shows she did not commit.

                       56.           Plaintiff's      confinement        to jail     was not otherwise          privileged.


                       57.           At said time and place Defendant COBwrongfully,                                 unlawfully,        maliciously,


         reasonable           suspicious           probable     cause of any legal            process,    arrested   and caused Plaintiff             to be


         imprisoned,           depriving           her of her liberty.



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                                                                                    12 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                          INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                                Document 1-1                  Filed 04/10/25         Page 14 ofNYSCEF:
                                                                                                                          RECEIVED   20     12/20/2024




                AS ANDFORA SIXTH CAUSEOFACTION AGAINSTDEFENDANTS
                                                               FANARA,
            AMMERMAN
                   and GIRRANOFORINTENTIONAL INFLICTION OFEMOTIONAL
                                                                             DISTRESS


                    58.         Plaintiff     repeats,      and re-alleges       those allegations         contained   in paragraphs      1-57 as


         if fully   set forth       herein.


                    59.         On or about April             17, 2023, Defendant              FANARAadvised Plaintiff            that if she did


         not tell   him who the shooter was, that he would arrest her for attempted murder and/or reckless

         endangerment knowing                  full    well that    it   was not Plaintiff        who shot at the manthat assaulted           her


         son.


                    60.         On or about April             17, 2023,      Defendant FANARAdid advise                 Plaintiff's    counsel


         that   he would allow him to accompany Plaintiff                            to turn    herself in the next day. At approximately


         6:30 p.m. that                                                               GIRRANO
                                same evening, Defendant FANARA, sent Defendant AMMERMAN,

         and BPDofficers              to Plaintiff's       home to arrest her for a crime Defendant FANARAknew she did

         not commit on the holiest                    night of Ramadan.


                    61.         The seizure,           detention     and restraint      of Plaintiff     was without   cause and in violation


         of her federal       and civil       rights     protected       by the Constitution           of the United States and 42 U.S.C.           §


         1983.


                    62.         Once in custody of the BPD, Plaintiff,                         a deeply religious   Muslim woman, was

         forced to strip for a body search in the presence of male officers.                                She was also forced       to remove


         her hijab,       niquab,     chador, burqa and her under clothes                      which were kept from her until          her release


         the next day.


                    63.         That by their conduct and under the circumstances                            known to them, Defendants

         FANARA,AMMERMAN
                      and GIRRANO
                                intended                                                to cause severe emotional         distress,    and such

         conduct made it certain               that     such distress      would follow.


         {H4024028.11                                                                                                                    13

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                                                                               13 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                 INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                           Document 1-1               Filed 04/10/25             Page 15 ofNYSCEF:
                                                                                                                      RECEIVED   20     12/20/2024




                     64.         That the aforementioned conduct of Defendants FANARA,AMMERMAN,

         GIRRANOand the BPDdirectly                       and proximately         caused the Plaintiff        severe emotional     injury


         and distress.

           AS ANDFORA SEVENTHCAUSEOFACTION AGAINSTDEFENDANTS
                                                           FANARA
             AMMERMAN
                    and GIRRANOFORNEGLIGENTINFLICTION OFEMOTIONAL
                                                                       DISTRESS

                     65.         Plaintiff   repeats,   and re-alleges        those allegations      contained     in paragraphs    1-64 as


         if fully    set forth     herein.


                     66.         That the aforesaid       mentioned conduct of the Defendants FANARA,

         AMMERMAN        who were acting under the color of law, in their capacity as a BPD
               and GIRRANO


         officers,      caused the Plaintiff       to reasonably       fear   for her personal      safety.


                     67.         That the Plaintiff      did not consent to the actions           of Defendants FANARA,

                GIRRANOand/or the BPD.
         AMMERMAN,
                     68.                                                          GIRRANOand the
                                 That the conduct of the Defendants FANARA,AMMERMAN,

         BPDwas not just,             authorized    or privileged.


                     69.                                                      GIRRANOand the
                                 That the conduct of Defendants FANARA,AMMERMAN,

         BPDwas so shocking and outrageous                      that   it   exceeded all reasonable bounds of decency.

                     70.         That the aforementioned conduct of the Defendants FANARA,AMMERMAN,

         GIRRANOand the BPDdirectly                       and proximately         caused the Plaintiff        severe emotional     injury


         and distress.




         (H4024028.1)                                                                                                              14

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                                                                            14 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                                    INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                               Document 1-1                   Filed 04/10/25                  Page 16 ofNYSCEF:
                                                                                                                                   RECEIVED   20     12/20/2024




          AS ANDFORANEIGHTHCAUSEOFACTION AGAINSTDEFENDANTS
                                                         FANARA,
           AMMERMAN  ANDGIRRANOFORMALICIOUS ABUSEOFLEGALPROCESS

                    71.         Plaintiff      repeats,    and re-alleged       those allegations             contained         in paragraphs      1-70 as


         if fully   set forth        herein.


                    72.         Defendants FANARA,AMMERMAN
                                                        and GIRRANOintentionally                                                         and


         maliciously        used the threat         of filing     charges against           the Plaintiff     as a means to force her into


         providing        specific      information       that they required.           WhenPlaintiff          did not provide           said


         information,        they then filed          charges against       Plaintiff        for a crime they           were well aware that she

         did not commit causing her to be falsely                      arrested     and subjected           to emotional           damage.

                    73.         Defendants FANARA,AMMERMAN
                                                         and GIRRANO,while                                                      acting   under the color

         of law, and in their capacity                  as a   BPDofficers,       used the process of arrest                   in a perverted     manner

         to obtain      a collateral        objective     when they filed charges against                   Plaintiff      for a crime that they


         were aware Plaintiff               did not commit.


                    74.         All criminal        charges against       the Plaintiff           were finally          dismissed    by the Buffalo

         City Court on December 28, 2023.

           AS ANDFORA NINETH CAUSEOFACTION AGAINSTDEFENDANTS
                                                           FANARA,
          AMMERMAN  ANDGIRRANOFORFALSEARREST/UNLAWFUL  IMPRISONMENT

                    75.         Plaintiff      repeats,    and re-alleged       those allegations             contained         in paragraphs      1-74 as


         if fully   set forth        herein.


                    76.         Defendant FANARAintended                      to confine          the Plaintiff         by advising her counsel         that


         he would allow counsel                to   accompany her the next day for processing                            and then sent Defendants

         AMMERMAN
               and GIRRANO
                         to arrest her the same evening, knowing                                                          it   was the holiest     night of


         Ramadan, and she would have to spend the night                                 in jail   for a crime he was aware she did not


         commit.


         (H4024028.11                                                                                                                              15

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                                                                              15 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                                    INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                                   Document 1-1             Filed 04/10/25                    Page 17 ofNYSCEF:
                                                                                                                                   RECEIVED   20     12/20/2024




                        77.         Plaintiff     was well aware that she was being taken from her children and placed

         into   custody to which she did not consent, for a crime that evidence shows she did not commit.

                    78.             Plaintiff's     confinement         to jail   was not otherwise         privileged.


                    79.             At said time and place Defendants FANARA,AMMERMAN
                                                                                   and GIRRANO,


         wrongfully,          unlawfully,          maliciously,      without       reasonable    suspicious       probable         cause of any legal


         process,        arrested      and caused Plaintiff           to be imprisoned,         depriving      her of her liberty.


                AS ANDFORA TENTHCAUSEOFACTION AGAINSTDEFENDANT      ERIE FOR
                                                TO42 U.S.C. SECTION
                     MUNICIPAL LIABILITY PURSUANT                  1983



                    80.             Plaintiff     repeats,    and re-alleged        those allegations        contained      in paragraphs          1-79 as


         if fully   set forth         herein.


                    81.             At all times herein relevant Defendant ECDAis employed by the Defendant ERIE

         to prosecute         criminal          cases within      the County of Erie and on behalf of the People of the State of


         NewYork.

                    82.             Upon information           and belief,        and at all times      hereinafter       mentioned,       it   was the

         policy     and custom of the Defendant ERIE and the ECDAto inadequately                                           train    and supervise       its



         employees within                the ECDA.


                    83.             Upon information           and belief,        by overlooking,       excusing,     or disregarding            the


         wrongful conduct of its Assistant                      District     Attorneys     (including      but not limited          to   Michael W.


         Held, Esq., Kristen               S. Fischer,       Esq. and Briana R. D. Miller,              Esq.) Defendants ERIE and EDCA

         have adopted a rule or unwritten                      policy      of deliberate   indifference        to unlawful         conduct as

         complained of herein.




         |H4024028.1|                                                                                                                              16

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                                                                                  16 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                                           INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                                   Document 1-1                         Filed 04/10/25                   Page 18 ofNYSCEF:
                                                                                                                                              RECEIVED   20     12/20/2024




           AS ANDFORANELEVENTHCAUSEOFACTION AGAINST DEFENDANTS
                                                             ERIE
                     ANDTHEECDAFORMALICIOUS PROSECUTION

                       84.         Plaintiff      repeats,     and re-alleged         those allegations                     contained       in paragraphs    1-83 as


         if fully      set forth     herein.


                       85.         On April          18, 2023, Plaintiff        was arraigned                in Buffalo          City Court on Reckless

         Endangerment charges.                     At that time       Plaintiff's      counsel provided                     video to the Court and ECDA


         advising        them that       Plaintiff        was not the perpetrator.                Plaintiff's          counsel met with Michael              W.

         Held, Esq., Assistant                 District     Attorney,      to   view the videos               at    the office        of the ECDAimmediately

         after   that      appearance.         Mr. Held later advised               that   it    was the decision of the EDCAto move

         forward with the Reckless Endangerment charge.

                       86.         On April          18, 2023,    EDCAprovided                   Plaintiff         s counsel      with an arrest package


         which contained              eye witness statements where each of the witnesses had advised Defendant

         FANARAand other BPDofficers                             that the Plaintiff             was NOTthe person who shot at the criminal

         Complainant.            The ECDArefused                 to   drop the charges and/or                       offer    a plea at that time.


                       87.         On or about May22, 2023, Plaintiff's                             counsel again met with                    members of the

         ECDAto discuss the videos,                        evidence     and the matters before the Buffalo                              City Court. Wherein

         the ECDAagain declined                       to drop/reduce         the charges against                    Plaintiff.


                       88.         Onor about July 11, 2023, Plaintiff                           appeared with counsel before Hon. Peter J.


         Savage,        III,   for a felony        hearing in which the People were not ready.                                   At that time the ECDA

                                                                                                                                      2nd
         offered       a plea deal to the charge               of Penal Law 120.14 (Menacing                                 in the         Degree).


                       89.         On or about July 25, 2023, Plaintiff's                           counsel presented the Court and ECDAwith


         a sworn statement from the criminal                          Complainant               stating      that     he has already advised           the   BPD,




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                                                                                    17 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                                             INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                            Document 1-1                 Filed 04/10/25                    Page 19 ofNYSCEF:
                                                                                                                                RECEIVED   20     12/20/2024




         FANARAand ECDAthat Plaintiff                        did NOTshoot the gun and that he also gave his statement in


         writing      to the BPDand          FANARAstating that Plaintiff                 never shot the gun.


                      90.       On or about September 14, 2023, Plaintiff                      and her counsel appeared                 in Buffalo


         City Court and served a Motion to Dismiss the Reckless                               Endangerment Charge for lack of

         evidence.          At that time the ECDAfiled            a Misdemeanor Complaint for a violation                            of Penal Law

         120.14 (Menacing in the 2nd Degree) and the Reckless                               Endangerment charge was dismissed.

                      91.       Defendant ECDAcontinued                  the prosecution         of the Plaintiff            even though their

         complainant and other eye witnesses had advised                          their     Assistant         District     Attorneys    that Plaintiff


         is   NOTthe person who fired                the gun.


                      92.       On or about December 28, 2023 all remaining charges were dismissed                                          against      the


         Plaintiff.


                      WHEREFORE,
                              Plaintiff                     demands judgment              as follows:


                                a.         General compensatory damages against                         all    defendants       in   such a sum as a


         jury   may allow        for   damages, which sum exceeds the jurisdictional                             limits     of all lower courts

         which would otherwise               have jurisdiction        over this action;


                                b.         Exemplary or punitive            damages against             all    defendants       in   such a sum as a


         jury   may allow        for   damages, which sum exceeds the jurisdictional                             limits     of all lower courts

         which would otherwise               have jurisdiction        over this action;


                                c.         Attorney's       fees pursuant      to the provisions              of 42 U.S.C.       § 1988


         should plaintiff        be successful        in   Claim 4, made pursuant             to 42 U.S.C.               § 1983 together    with costs


         and disbursements             of this   action;


                                d.         With such other and further             relief     as the Court may deemjust                    and proper.




         (H4024028.1)                                                                                                                          18

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                                                                          18 of 19
FILED: ERIE COUNTY CLERK 12/20/2024 01:48 PM                                                                         INDEX NO. 818720/2024
NYSCEF DOC. NO.Case
                1   1:25-cv-00315-LJV                   Document 1-1               Filed 04/10/25             Page 20 ofNYSCEF:
                                                                                                              RECEIVED   20     12/20/2024




         Dated:    December 16, 2024
                   Amherst, NewYork                                                   TIVERON LAWPLLC



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         (H4024028.11                                                                                                   19

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                                                                 19 of 19
